                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,                         Case No. 16-cr-51-pp

                   Plaintiff,

v.

DARIUS TOLIVER,

                  Defendant.
______________________________________________________________________________

         ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
    RECOMMENDATION (DKT. NO. 59) AND ACCEPTING DEFENDANT’S
                                GUILTY PLEA
______________________________________________________________________________

      On November 4, 2016, the defendant and his counsel appeared before

Magistrate Judge David E. Jones for a change-of-plea hearing. Dkt. No. 2. The

hearing originally had been scheduled to take place before Judge Pepper, but

due to her illness, Judge Jones offered to take the plea. Both parties consented

to Judge Jones taking the plea. Id. at 1. Judge Jones reported that the

defendant was “lucid, intelligent, and not under the influence of any

intoxicants or substances.” Id. Judge Jones also concluded, and recommended

that this court find, that the defendant’s plea was knowing and voluntary, and

supported by an independent factual basis. Id. at 2. Judge Jones

recommended that this court accept the defendant’s guilty plea and schedule

the case for sentencing. Id.

      No party has objected to Judge Jones’ report and recommendation.

Having reviewed the case, and in particular, the plea hearing and Judge Jones’


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findings, the court ADOPTS Judge Jones’ report and recommendation. The

court ACCEPTS defendant Darius Toliver’s guilty plea, finding that he made it

knowingly and voluntarily, understanding his rights and the consequences of

his plea. The court ORDERS that the probation department begin the process

of preparing a presentence investigation report. The court’s staff will contact

the parties (including the probation officer) to schedule a date for the

sentencing hearing, as well as deadlines for disclosure of the draft presentence

investigation report, objections to the report, responses, the filing of letters or

other supporting documentation, and the filing of the revised presentence

report.

      Dated in Milwaukee, Wisconsin this 28th day of November, 2016.




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